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                               UNITED STATES DISTRICT COURT
                                                       for the
                                                 District of Massachusetts

                                                  Eastern Division


                                                          )      Case No .     1:22-cv-104 73
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                 MICHAEL BUSH                             )                                  N       7:---
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                  Pro Se Plaintiff                        )                                          oc:
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                         vs.                              )                                          0
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      THE WA G CENTER FOR THE                             )
  PERFORM! G ARTS , INC . d/b/a Boch Center               )
              Defendant                                   )
                                                          )




                  PLAINTIFF'S REQUEST FOR RULINGS


                           Pursuant to Local Rule of Civil Procedure 7. 1(a)(3)

       Local R. Civ. P. 7.l(b)(2) states that, "A party opposing a motion shall file an opposition

within 14 days after the motion is served . .. The 14-day period is intended to include the period

specified by the civil rules for mailing time and provide for a uniform period regardless of the

use of the mails." The Defendant has failed to file an opposition to the Plaintiff's Motion to

Compel Initial Disclosures, Rule 26(£) Conference, Discovery, and Compliance with Local R.

Civ. P. 7.l(a)(2) within the 14 days allowed for filing an opposition.




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        Local. R. Civ. P. 7.l(f) states that, "Motions that are not set down for hearing as provided

in subsection (e) will be decided on the papers submitted after an opposition to the motion has

been filed, or, if no opposition is filed , after the time for filing an opposition has elapsed." As the

time for the Defendant to file an opposition elapsed without it having filed an opposition, the

Plaintiffs Motion must be granted.

        Local R. Civ. P. 7.l(a)(3) states that, "The court shal_l rule on motions as soon as

practicable, having in mind the reporting requirements set forth in the Civil Justice Reform Act."

        Wherefore, the Plaintiff respectfully requests this Court:

             1. grant his pending request for leave to file electronically pro se in this case, and

             2. grant his unopposed Motion to Compel Initial Disclosures, Rule 26(f)

                Conference, Discovery, and Compliance with Local R. Civ. P. 7.l(a)(2) and

                order sanctions in accordance with the Motion.




June 20, 2022                                                   1MAJ ~,
                                                                Michael Bush
                                                                                          Pro Se

                                                                280 Lowell Street
                                                                Carlisle MA 0 1741
                                                                Bmoc5 4@verizon.net
                                                                Phone: (978) 734-3323




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